
944 A.2d 979 (2008)
286 Conn. 907
STATE of Connecticut
v.
ANGEL T.
No. 18121.
Supreme Court of Connecticut.
Decided March 6, 2008.
Timothy J. Sugrue, senior assistant state's attorney, in support of the petition.
Gary A. Mastronardi, Bridgeport, in opposition.
The petition by the state of Connecticut for certification for appeal from the Appellate Court, 105 Conn.App. 568, 939 A.2d 611 (2008), is granted, limited to the following issue:
"Did the Appellate Court properly determine that the state's attorney's elicitation of evidence regarding a missed meeting between the police and the defendant, and his comment thereon in summation, constituted prosecutorial impropriety which deprived the defendant of his right to a fair trial?"
The Supreme Court docket number is SC 18121.
